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                        EXHIBIT 33
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


     COMMONWEALTH OF
     MASSACHUSETTS, et al.,

          Plaintiffs,
                                                       Case No. _______________________
                        v.

     NATIONAL INSTITUTES OF HEALTH,
     et al.,

          Defendants.




                   DECLARATION OF DR. BETHANY DIANE JENKINS

               I, Bethany D. Jenkins, declare as follows:

1.             I am a resident of the State of Rhode Island. I am over the age of 18 and have

personal knowledge of all the facts stated herein, except those matters stated upon information

and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

testify competently to the matters set forth below.

2.             I am currently employed by the University of Rhode Island (“URI”) as the

University’s Vice President for Research and Economic Development (VPRED) and Professor

of Cell and Molecular Biology.

3.             The Division of Research and Economic Development is responsible for being the

University of Rhode Island’s authorized unit to oversee our external research funding portfolio,

including to submit awards, receive grants and ensure our research integrity. As the Vice
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President for Research and Economic Development I help our community receive competitive

federal awards that augment significant investments made by Rhode Island as our State’s

flagship land and sea grant university. The federal research funding at the University of Rhode

Island provides myriad experiential learning opportunities for our students, 30% of which are

first in their family to attend an institution of higher education.

5.              A recent economic impact study shows that in fiscal year 2019, the University’s

impact on Rhode Island’s economy was considerable. Through the multiplier effect, for every

dollar contributed by the state, the University generated $6.25 in statewide economic output.

URI, directly and indirectly, generated $824.6 million in statewide economic activity, supported

8,097 jobs, and provided $418.6 million in wages. This included spending nearly $167.7 million

on the purchase of goods and services and $150.6 million on the construction and renovation of

campus facilities, of which approximately $71.1 million (42.4%) and $133 million (88.3%) was

provided to Rhode Island businesses, respectively. URI is also one of the largest employers in

the state, employing a total of 3,818 people, an increase of 4.6% (168 jobs) since the fall of 2011.

As of 2021, for every dollar of state appropriation, the University’s Division of Research

returned $1.25, or 25%, in external awards and $3.50, or a 250% return, in economic impact to

the state and its constituents.

6.              As the VPRED, I declare that in FY 2024 the University of Rhode Island received

more than $131 million in federal research awards (81% of $161 million in total research awards

to the University), and URI’s average monthly federal research expenditures are estimated at

$9.5M. URI has a spectrum of federal research awards that support Rhode Island’s blue

economy, health care and education sectors, among others. The University of Rhode Island’s
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contributions to research include institutionally financed research for competitive grants, funds to

serve as required match or cost share on active projects and unrecovered direct costs.

7.             Following the Office of Management and Budget’s issuance of M-25-13 (“OMB

Memo”) on January 28, 2025, URI experienced near-immediate disruptions to its ongoing

research projects.

8.             URI received stop-work orders on its entire portfolio of USAID-funded awards

($66.7M). URI’s Coastal Resources Center has been conducting work in partnership with

USAID for over 50 years. These programs focus on food insecurity, a national security threat

tracked by the CIA. Almost all the countries where CRC has projects are listed by the CIA as

having concerning levels of food insecurity. The five programs employ 15 US based URI

personnel and 13 sub-awardees with 244 personnel supported by the project; plus 13 contractors

in 13 countries: Philippines, USA, UK, Madagascar, Fiji, Marshall Islands, Federated States of

Micronesia, Palau, Papua New Guinea, Solomon Islands, Ghana, The Gambia, Kenya. The

programs include the following:

       USAID Fish Right: Philippines. Launched in 2018, $33 million over 8 years (Focuses on

       fisheries ecosystem biodiversity conservation including fisheries policy and management,

       illegal, unreported, and unregulated (IUU) fishing, fisheries leadership and capacity

       development, value chain development, private sector engagement, economics and

       finance, improved management of Marine Protected Areas, mangrove management,

       coastal and ocean processes science);

       USAID Our Fish Our Future: Pacific Islands. Consortium led by URI. Launched in 2021,

       $15 million over 5 years (Addresses the social and ecological drivers of IUU fishing

       including overfishing, the inability to monitor illegal fishing, and weak compliance with
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       fisheries regulations across six countries in the Pacific Islands region. By addressing

       these problems, the project protects critical coastal habitat and supports local livelihoods,

       food security, and maritime security in both Melanesia and Micronesia);

       USAID Riake: Madagascar. Launched in 2024, $13 million over 5 years (Promotes

       biodiverse, well-managed, secure, and sustainable marine ecosystems and livelihoods

       through a Blue Economy framework that includes marine spatial planning, improved

       fisheries policy and management, fisheries leadership and capacity development, value

       chain development, private sector engagement, improved management of Marine

       Protected Areas and Locally Managed Marine Areas, and mangrove management);

       USAID Women ShellFishers: West Africa. Launched in 2020, $3.1 million over 5

       years (Focused on biodiversity conservation, coastal resources governance, strengthening

       resource user tenure and use rights in fisheries co-management, mangrove conservation,

       and food security in coastal West Africa);

       USAID Feed the Future Innovation Lab for Fish 2 (URI is a sub-awardee of Mississippi

       State University): URI subaward launched in 2019, $2.6 million over 10 years

       (Development and management of a fisheries and aquaculture research grant program to

       reduce poverty and improve nutrition, food security, and livelihoods in partner countries

       by supporting research on sustainable aquatic food systems.

9.             URI sent communications to USAID Agreement Officers for each of our USAID

grants indicating our understanding that the USAID stop work orders were subject to, and

effectively rescinded by, the Temporary Restraining Order issued January 31, 2025 by Chief

Judge John J. McConnell, Jr. of the United States District Court for the District of Rhode Island

in Case No. 25-cv-39-JJM-PAS and requesting confirmation of that understanding. Agreement
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Officers who responded indicated that the suspension of award implementation remains in effect

until the Agreement Officer issues a rescission and indicates they can provide no time period for

when the suspension may be lifted. This uncertainty about funding will lead to irreparable

damage to the University, its USAID grant-funded staff and research programs as the university

lacks resources to continue funding programs awaiting decisions from USAID with no timeline.

10.              URI also received 90-day hold and pause notices on awards that impact coastal

resilience and food waste reduction across Rhode Island. Hold notice: From National Park

Service (NPS), for a US based project led by URI’s Coastal Resources Center. The total award is

$255,035 over 4 years. The project supports NPS Efforts to Improve Operational Resiliency of

Coastal Parks.

11.              URI’s EPA Inflation Reduction Act Community Challenge Grant "From Food

Waste to Opportunity" was paused citing the Unleashing American Energy EO 14154. This

project, awarded in December to the Rhode Island Food Council, would provide $18.7 million to

implement a multilevel approach to food waste reduction, donation, and composting in 64

contiguous qualifying census tracts in Providence, Pawtucket, and Central Falls, Rhode Island

and 14 in Newport and Middletown, Rhode Island. URI’s contribution is through Cooperative

Extension’s Food Recovery for Rhode Island program.

12.              Most of URI’s principal investigators on Federal grant awards have received

general notices to cease activities related to DEIA work from agencies including the Department

of Energy, NASA, Health Resources and Service Administration, National Science Foundation

and others. These notices lack legal definitions of DEIA and provide no substantive guidance.

13.              On information and belief, URI has also seen disruptions in systems disbursing

federal funds.
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       Among these are:

       The U.S. Department of Health and Human Services (HHS) grant reimbursement

       requests submitted through the federal grants payment processing system Payment

       Management System (PMS) have not been paid;

       Federal Emergency Management Agency (FEMA) Payment and Reporting System

       (PARS) will not allow for payment requests to be submitted; and Certain Department of

       Interior obligated federal funds accounts have been suspended for disbursement of funds.

14.            On information and belief, the new 15% cap on NIH indirect cost reimbursement

rate communicated by the NIH on February 7, 2025 in the Supplemental Guidance to the 2024

NIH Grants Policy Statement: Indirect Cost Rates (Notice Number: NOT-OD-25-068) will have

significant impacts on the University of Rhode Island and our ability to be an economic engine

for the state of RI. Based on indirect costs received to date in FY 25, the 15% NIH cap is

estimated to impact URI at a monthly loss of $240K and $2.8M if annualized.

15.            Indirect Cost Rates are also known as facilities and administrative costs or

overhead costs. They are the infrastructural and operational costs associated with the conduct of

research and include, but are not limited to, such areas as: construction and maintenance of

laboratories, utilities, telecommunications, internet, data storage, compliance and safety,

radiation safety and hazardous waste, and research administration staffing needed to comply with

federal, state, and local regulations related to federally-funded research.

16.            Since 1991, the administrative component of indirect costs has been capped at

26%, despite a 181% increase in the number of compliance and administrative changes

impacting sponsored research from 2014-2024 (Council on Governmental Relations; Changes in

Federal Requirements Since 1991 (Updated January 2025); https://www.cogr.edu/changes-
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federal-research-requirements-1991). At URI, these increases in compliance requirements have

meant that URI has had to hire additional compliance staff to ensure we are abiding by the new

regulations and changes, despite no increases to our administrative cost portion of indirect cost

rates for decades.

17.            Indirect cost rates also include costs for facilities that support research and are

derived from a number of factors, condition, age and location of facilities, types of laboratories,

and amount of renovation and construction required to maintain certain types of research

facilities.

18.            Indirect cost rates are established in partnership with the Department of Health

and Human Services through a complex and transparent negotiation process that includes

assessing and reporting on these real costs of conducting research.

19.            URI maintains a highly diverse research portfolio, and on information and belief

NIH-funded research often involves additional compliance-related costs. For instance, a number

of URI’s projects in the Colleges of Pharmacy and Health Sciences require animal care and use

staff, including technicians and an attending veterinarian. They require the review and

oversight of the IACUC (Institutional Animal Care and Use Committee), and sometimes

the Institutional Biosafety Committee. Other NIH funded projects involve the use of the

Institutional Review Board for the Protection of Human Subjects. Other projects involve

the review and monitoring by Export Controls and Research Security, to ensure our

national security interests. High inflation over the past few years has increased basic costs related

to research and staff supported by indirect costs in unions receiving cost of living adjustments.

20.            Of note, COGR identified the implications and impact if indirect costs were

restricted or reduced:
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 • The inability of universities to accept research awards from, and conduct research on

 behalf of, federal agencies;

 • The deterioration of research facilities as the financial risk to build new facilities or

 maintain existing ones becomes too great to cover with institutional funds;

 • The inability to sustain required support staff and infrastructure required to comply with

 government regulations; this could threaten the health and safety of patients,

 researchers and students;

 • A reduction in the pipeline of trained scientists and engineers in the workforce due to

 reduced research training opportunities at universities.

 • An increase in tuition rates.

 Reference: COGR (2024) Frequently Asked Questions about Facilities and Administrative

 (F&A) Costs of Federally Sponsored University Research.

 https://www.cogr.edu/sites/default/files/FAQ-Costs-of-Research%20%281%29.pdf)

21.          Federally sponsored research is a critical function of the state’s public,

flagship, land- and sea-grant university and serves as a major economic engine for URI and

the State of Rhode Island. For example, URI and many other Rhode Island institutions of

higher education are part of the 28-state NSF-Funded EPSCoR and NIH-funded IDEA

programs that support national security, workforce readiness, defense, and broad

geographic and socioeconomic access.

      URI is the lead institution on the recently-funded $8M NSF EPSCoR E-CORE

      program that is a partnership of several Ocean State universities and colleges,

      including URI, Rhode Island College, Brown University, Roger Williams University,

      and Rhode Island School of Design (RISD). By leveraging partnerships with diverse
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       institutions and organizations, the project will boost collaboration, education, and

       workforce development initiatives in science, technology, engineering and

       mathematics (fields collectively known as STEM) across the Ocean State.

       URI, in partnership with Brown University, Bryant University Johnson and Wales

       University, Providence College, Rhode Island College, Roger Williams University,

       Salve Regina University and the Community College of RI, leads the $21M NIH-

       Funded Rhode Island IDeA Network of Biomedical Research Excellence (RI-

       INBRE) program that is a statewide network designed to build the biomedical

       research capacity of Rhode Island institutions, by supporting and developing talented

       individuals committed to biomedical research careers in Rhode Island particularly in

       areas of cancer, environmental health sciences, and neuroscience.

22.            On information and belief, the impact of the reduction in NIH indirect cost rates

at URI means the university would have to use contingency funds to maintain critical functions

(e.g., research operations staff, animal care facilities, and instrumentation too expensive to shut

down). Long term consequences would result in consideration of shutting down research projects

and labs and laying off staff which will impact RI’s workforce.



               I declare under penalty of perjury that the foregoing is true and correct.

        Executed on February 09, 2025, at Kingston, RI.




                                              _____________________________________
                                               Bethany Diane Jenkins
